Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 1 of 25 PagelD# 3328

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
DARRELL J. AUSTIN, JR.,
Plaintiff,

Vv. Civil Action No. 3:22cv707

EQUIFAX INFORMATION SERVICES,
LLC, et al.,

Defendants.
MEMORANDUM OPINION
This matter is before the Court on DEFENDANT EXPERIAN
INFORMATION SERVICES, INC.’S MOTION TO COMPEL ARBITRATION (ECF

No. 38). For the following reasons, the motion will be denied.

BACKGROUND
Darrell J. Austin, Jr. (*Austin”) filed the COMPLAINT
herein (ECF No. 1) alleging violations of the Fair Credit
Reporting Act (“FCRA”). (ECF No. 1) Specifically, Austin alleged
that:

(1) Defendants Equifax Information Services, LLC
(“Equifax”), Experian Information Solutions, Inc.
(“Experian”) and Trans Union, LLC (“Trans
Union”), violated 15 U.S.C. § 168le(b) “by
failing to establish or to follow reasonable
procedures to assure maximum possible accuracy in

the preparation of consumer reports they each
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 2 of 25 PagelD# 3329

furnished and maintained concerning” Austin,
(COMPLAINT, ECF No. 1, COUNT ONE) and that, as a
result, they improperly reported on Austin’s
credit record an unsecured debt that was
discharged in Austin’s bankruptcy; and

(2) Equifax, Experian, and Trans Union violated 15
U.S.C. §  1681i(a) “by failing to conduct
reasonable reinvestigations to determine whether
the disputed information was inaccurate and
record the current status of the disputed
information or delete the item from Plaintiff's

credit file” and “by failing to conduct any

reinvestigation at all’ respecting Austin’s
dispute (thereby violating 15 U.S.C. §
168i(a)(1)) and “by failing to review and

consider all relevant information” that Austin
submitted (thereby violating 15 U.S.C. §
168li(a) (4)) and “by failing to promptly delete
the dispute inaccurate items of information from
Plaintiff's credit file or modify the terms of
information upon a lawful reinvestigation,”
(thereby violating 15 U.S.C. § 1681i(a) (6))

(reporting derogatory information regarding an
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 3 of 25 PagelD# 3330

auto loan during the pendency of Austin’s
bankruptcy) (COMPLAINT, ECF NO. 1, COUNT TWO) .1

By May 2023, Austin had settled the claims against Trans
Union, Equifax, VACU, and RVA. (See ECF Nos. 84, 89, 90, and
98.) The sole remaining claims are those against Experian.

After filing its Answer (ECF No. 31), Experian filed
EXPERIAN INFORMATION SOLUTIONS, INC.’S MOTION TO COMPEL
ARBITRATION (ECF No. 38) (the “MOTION TO COMPEL”). In its
memorandum in support of the MOTION TO COMPEL (ECF No. 39),
Experian made the following arguments.

First, Experian argued that a valid arbitration agreement
existed because Austin had signed up online for CreditWorks, an
Experian “affiliate,” starting a “credit monitoring membership.”
(ECF No. 39 at 6-7) In so doing, according to Experian, Austin
had agreed to certain Terms of Use, which contained an
arbitration agreement. Id. Second, Experian argued that it (a
non-party to the agreement that Austin is said to have made with
CreditWorks) could directly enforce that agreement because the
Terms of Use explicitly grouped in Experian as an affiliate of

CreditWorks, thereby including Experian in the agreement and

1 Austin also alleged that the Virginia Credit Union, Inc.
(“VACU”) and RVA Financial Federal Credit Union (“RVA”) violated
15 U.S.C. § 1681s-2(b) (1) (A, B and E) in various ways and by
violating 15 U.S.C. § 1681s-2(b) (1) (COMPLAINT, ECF No. 1, COUNT
THREE) .
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 4 of 25 PagelD# 3331

enabling Experian to enforce it. Id. at 7-11. Third, Experian
argued that, in the alternative, Experian was at the very least
a third-party beneficiary of the arbitration agreement, and was
entitled to enforce its terms on those grounds. Id. at 12-16.

The MOTION TO COMPEL relied entirely on the Declaration of
David Williams (the “Williams Affidavit”) (ECF No. 39-1).
According to the Williams Affidavit, Williams is “the VP,
Business Governance for ConsumerInfo.com, Inc.,” doing business
as Experian Consumer Services, another Experian affiliate. Id.
at § 1. Therefore, according to Williams, he had “personal
knowledge . . . through the review of pertinent documents
relating to sales of [ConsumerInfo.com’s] credit products and
services,” which allegedly included CreditWorks. Id. at 44 1, 8.
The Williams Affidavit included attachments of screenshots of
the CreditWorks sign-on process, purporting to bolster the text
of the Williams Affidavit and, in turn, the MOTION TO COMPEL.
(ECF No. 39-1) By referring to the screenshots of the
CreditWorks sign-on process, Williams averred that: (1) Austin
would have seen the Terms of Use; (2) Austin would have clicked
that he agreed to the Terms of Use; (3) the Terms of Use applied
to Experian; and (4) the Terms of Use included the agreement to
arbitrate. Id. at {{ 3-8.

Specifically, Williams asserted the following about what

Austin allegedly did when he signed up for CreditWorks:

4
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 5 of 25 PagelD# 3332

The phrase ‘Terms of Use Agreement’ in the
disclosure was off-set in blue text and, if
clicked, would have presented the consumer
with the full text of the agreement. That
is, the phrase ‘Terms of Use Agreement’ in
the disclosure was a full text hyperlink to
the Terms of Use. Thus, before clicking the
‘Create Your Account’ button, the consumer
could view the entire text of the Terms of
Use Agreement by clicking on the blue-

highlighted hyperlink ‘Terms of Use
Agreement.’ When a consumer clicked on the
‘Terms of Use Agreement’ hyperlink, an

additional window would open within the
consumer’s web browser containing the entire
text of the Terms of Use Agreement.
Immediately below the disclosure was a large
purple button that reads: ‘Create Your
Account.’ The webform, the disclosure, and
the ‘Create Your Account’ button appeared on
a single webpage.

Id. at § 4 (emphasis added). Notably, Williams did not
assert that Williams would have had to click the Terms
of Use Agreement in order to proceed.
Williams also represented that he had personal knowledge of
what was set out in the Williams Affidavit. To establish his

putative personal knowledge, Williams said:

I am the VP, Business Governance for
ConsumerInfo.com Inc. (‘CIC’) in Costa Mesa,
California. CIC also does business as

Experian Consumer Services (‘ECS’).

xk ok

My duties at CIC throughout the course of my
employment require that I be familiar with,
among other things, the marketing,
advertising and sales of CIC consumer credit
products, including services that consumer
enroll in at Experian websites, as well as

5
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 6 of 25 PagelD# 3333

the Terms of Use governing such services.

Except where otherwise stated, the facts

stated in this Declaration are of my own

personal knowledge, including knowledge

acquired in the course and scope of my job

responsibilities and through the review of

pertinent documents maintained as business

records by CIC in the course and scope of

CIc’s business, documents relating to CIC’s

internet advertising, and documents relating

to sales of CIC’s credit products. and

services. If called upon to do so, I could

and would competently testify to the facts

stated below.
The Williams Affidavit mentions CreditWorks and its computer
sign-on process, but it does not explain how, if at all,
Williams has personal knowledge about the process or, for that
Matter, CreditWorks.

For his part, Austin disputed virtually all that was in the
Williams Affidavit. (DECLARATION OF DARRELL J. AUSTIN, JR. IN
SUPPORT OF PLAINTIFF’S OPPOSITION TO EXPERIAN INFORMATION
SOLUTIONS, INC.’S MOTION TO COMPEL ARBITRATION, ECF No. 107-2).
In particular, Austin explained that, after seeing an
advertisement for how to get a supposedly free credit report
from Experian, he sought to obtain it online on what he
understood to have been an Experian website. (ECF No. 107-2,
7) To do so, he clicked a check box. It was only after this
case started that Austin learned that the check had taken him to

another company’s website. (ECF No. 107-2, 9 6) Austin averred

that he never saw the language that Williams says constituted an
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 7 of 25 PagelD# 3334

agreement to arbitrate or the Terms of Use attached to the
Williams Affidavit. (ECF No. 107-2, § 9 and Q 10)
Additionally, Austin averred that:
Before filing this case against Experian, I
was not aware of companies named ‘Experian
CreditWorks, ' ‘CreditWorks,’ or *‘Consumer-
Info.com.’
I have never paid or agreed to pay Experian,
Experian CreditwWorks, CreditWorks, or
ConsumerInfo.com any money in exchange for
access to my credit report or for any other
services from these companies.
When I went to the website Experian is
claiming I used, I did not intend to sign up
for any services other than the ability to see
my credit report for free. I have never used
any of the other services that my lawyer has
told me were supposedly available.
(ECF No. 107-2, Qf 23, 24 and 26)

Because of the factual dispute over whether there exists an
agreement to arbitrate, and because of the ambiguous and
confusing contents of the Williams Affidavit, the Court
authorized discovery on the Williams Affidavit and on how the
computer click wrap? that is central to the Williams Affidavit
actually operated. (ECF No. 44) That discovery was important

to the ability to determine whether there was mutual assent to

arbitrate.

2 The Court is informed that “click wrap” is the mechanism by
which Austin is alleged to have given assent to arbitrate when
he thought that he was securing a free credit report.

7
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 8 of 25 PagelD# 3335

However, when discovery for the MOTION TO COMPEL began,
difficulties between the parties arose. Austin started the
process, but Experian disagreed about the nature and scope of
Austin’s interrogatories and requests for production. At the
same time, Austin claimed that Experian was overly argumentative
and was inappropriately withholding discovery materials (see ECF
Nos. 72, 74, 75, 77, 81, 86). In fact, Austin claimed on March
23, 2023 that Experian had objected to virtually all of Austin’s
discovery requests related to the mutual assent dispute. ECF No.
74 at 1. And, indeed, Austin’s complaint turned out to he
accurate.

Several of Austin’s interrogatories and other discovery
requests pertained to the assertions in the Williams Affidavit
that Williams had personal knowledge of the matters to which he
had averred. Austin claimed that Experian failed to produce any
evidence of Williams’ day-to-day responsibilities, and that the
failure to do so tended to establish a lack of the personal
knowledge that is required by Rule 56. E.g., ECF No. 74 at 2.
After several conference calls with the parties, the Court
overruled Experian’s discovery objections but also ordered
Austin to file more specifically tailored discovery requests.
ORDER, March 24, 2023 (ECF No. 76).

After further meetings and conferrals, though, the parties’

discovery disputes continued. The parties agreed to, and the
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 9 of 25 PagelD# 3336

Court ordered, a Supplemental Scheduling Order (ECF No. 94) on
April 18, 2023. Under that order, the parties were to conclude
discovery by May 26, 2023 so that the Court could hold an
evidentiary hearing in June to hear evidence on Williams’ claim
of personal knowledge and the issue of mutual assent. But, it
became necessary to continue that hearing generally because the
parties required even more conference calls and Court assistance
in resolving their discovery disputes, principally those
directed to Williams’ alleged personal knowledge, but all those
directed to the actual operation of the online system of which
Williams claimed to have personal knowledge.

Asserting that Experian’s discovery on those points was
insufficient to support Williams’ asserted personal knowledge or
to permit a meaningful evidentiary hearing, Austin filed an
OBJECTION TO AND MOTION TO EXCLUDE THE WILLIAMS DECLARATION (ECF
No. 105). In the memorandum in support of that motion, Austin
explained that the Williams Affidavit was not based on Williams’
personal knowledge as required by the rules applicable to
summary judgment. (ECF No. 106 at 5-12) Nor was it based on
identifiable, admissible, or non-hearsay documents, he alleged.
Id. Austin further contended that, although he had repeatedly
requested it in discovery, Experian had provided no foundational
or other evidentiary support for the statements Williams made in

the Williams Affidavit. Id. at 12-18.

9
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 10 of 25 PagelD# 3337

Experian, on the other hand, argued that the Affidavit was
sufficient on its face, was not grounded in hearsay, and did not
need to be supported by any discovery. (ECF No. 110 at 15-20) It
also argued that, because many other courts had allowed and used
similar affidavits from Williams, this Court should too. Id. at
20-21.

After a hearing on August 8, 2023, the Court granted
Austin’s MOTION TO EXCLUDE DECLARATION OF DAVID WILLIAMS (ECF
No. 105). ORDER of August 11, 2023 (ECF No. 138). The Court held
that, as required by Fed. R. Civ. P. 56(c)(4), the Williams
Affidavit must be based on personal knowledge and must be based
on evidence that would be admissible in evidence. Transcript of
Proceedings of August 8, 2023 (“Hearing Transcript”) at 73 (ECF
No. 139). It also held that similar to the standard for summary
judgment, it was Experian’s burden to prove that there was
actually an agreement to arbitrate established by mutual assent.
Id. at 72-74. Then, the Court found that Experian had failed to
carry that burden with respect to the Affidavit.

First, Williams’ job description was too ambiguous to
present a finding that Williams had personal knowledge of the
averments in the Williams Affidavit. The description of
Williams’ role in CIC, the company for which he worked, was not
plausibly probative of a personal awareness of “the details of

the activity that lies at the heart of the issue involving the

10
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 11 of 25 PagelD# 3338

alleged agreement to arbitrate ... .” Id. at 75-76. In other
words, Williams’ actual job description in CIC did not permit a
finding that he had personal knowledge of the CreditWorks sign-
on process. And the defense failed to provide any further
detail on that point during discovery. Id. at 80-81.

Second, Williams failed to identify the documents on which
he based his asserted personal knowledge. He did not identify
them in the Williams Affidavit itself, nor did the defense
provide them or even identify their existence when requested to
in discovery. Id. at 77-79. In fact, when probed further on this
issue, the defense’s interrogatory responses cut against
Williams’ personal knowledge of the arbitration process, in
general and as applied to Austin. Id. at 80-83.

Third, the exhibits attached to the Williams Affidavit were
hearsay. Id. at 84. So, it was Experian’s burden to show they
would be admissible into evidence. Id. Experian failed to carry
that burden. Id. The Court found unpersuasive Experian’s
reliance on other cases where similar affidavits were not
excluded, holding them to be factually distinct and inapplicable
here. Id. And, the answers to interrogatories that the defense
supplied later in discovery could not retroactively rehabilitate
the evidentiary faults in the Williams Affidavit. Id. at 85-86.

After the Williams Affidavit was excluded, the Motion was

left without any foundation. Experian asked to supplement the

11
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 12 of 25 PagelD# 3339

MOTION TO COMPEL “with the evidentiary record that the Plaintiff
insisted we produce in this case.” Id. at 88. Because Austin
objected to Experian’s rather unusual proposal, Experian was
directed to file a “proper motion” explaining what Experian
wanted to do so that Austin could present his objection and the
issue (whether Experian could have leave to supplement the
MOTION TO COMPEL) could be fully briefed for decision. Id. In
particular, Experian was permitted to file a Motion for Leave to
file supplemental evidence in support of the Motion.

However, Experian’s counsel also had suggested that such a
motion might not be filed. Therefore, Experian was instructed
to file a Notice that it would not file a motion for leave if
that was the course it elected. Id. at 88; ORDER of August 11,
2023 (ECF No. 138).

On August 25, 2023, Experian provided notice that it did
not intend to further supplement the record on the MOTION TO
COMPEL. (ECF No. 142) In that Notice, Experian argued that it
already had supplied enough evidence, both in discovery and as
exhibits to its MEMORANDUM OF LAW IN SUPPORT OF EXPERIAN
INFORMATION SOLUTIONS, INC.’S MOTION TO COMPEL ARBITRATION (ECF
No. 39), from which the Court could make its determination. Id.
at 1. Although Experian argued that the Court was legally
required to consider discovery materials and other filings at

this procedural posture, id. at 2-6, Experian made no specific

12
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 13 of 25 PagelD# 3340

citations to any of the purported “evidence in the record or
discovery,” which spanned over 800 pages. Experian did not
identify what documents Williams claimed to have relied on to
have the personal knowledge that he claimed to have in paragraph
1 of the Williams Affidavit.

Experian was informed that the Court would not rule on that
basis. During a conference call, the Court first expressed doubt
about whether it was appropriate to incorporate by reference
evidence and exhibits from the briefs on Austin’s Motion to
Exclude the Williams Affidavit in assessing the briefs on the
MOTION TO COMPEL. Transcript of Proceedings of August 29, 2023
(ECF No. 143 at 7-8). But regardless, Experian’s counsel was
told that the Court would not comb through over 800 pages of
discovery and exhibits in an effort to discern what was
probative of Experian’s argument that Williams had the personal
knowledge that he claimed to have, or that supported Experian’s
contention that Austin had indeed agreed to arbitration as
Williams claimed. Id. at 6.

For that reason, and because the record in general had
become obfuscated and confusing, Experian was ordered to file a
replacement memorandum in support of the MOTION TO COMPEL, which
did not incorporate by reference any previously filed briefs,
and which did not require the Court to search through the 800

confusing documents that contained unidentified evidence that

13
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 14 of 25 PagelD# 3341

Williams had this requisite personal knowledge. ORDER of August
31, 2023 (ECF No. 144). In other words, the process was to
start afresh.

Experian filed a replacement memorandum on September 7,
2023 (ECF No. 146). However, Experian put quotes around the word
“replacement” and the memorandum that it filed was nearly
identical to the original memorandum in support Experian filed
in February, 2023.3 (ECF No. 146 at 1) The “replacement” provided
no new support and relied entirely, once again, on the now-
excluded Williams Affidavit. Id. Experian contended that, “on
this record, [the August 31 Order, ECF No. 144] conclusively
foreclose(d] [Experian’s] ability to establish an agreement to
arbitrate .. . .” Id. Experian indicated that its sole aim in
filing the “replacement” was to comply with the ORDER and to
preserve the record for appeal. Id. n.2. Accordingly, Experian
took the view that the Court must deny the MOTION TO COMPEL and,

indeed, asked the Court to do so. Id.

3 Rather than make any substantive changes, Experian mostly just
added examples of legal authority (some having been decided
since it filed its initial memorandum in support) bolstering its
previously made arguments. These arguments included the
assertion that other courts had accepted similar affidavits in
other cases and that counsel for the plaintiffs in this case
failed to oppose similar motions to compel arbitration in other
cases in which Austin’s counsel were litigating with Experian.
See ECF No. 146 at 2-3, 3 n.3, 4, 9, 10, 13, 15, 17, 18.

14
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 15 of 25 PagelD# 3342

DISCUSSION

I. Legal Standard

The Federal Arbitration Act provides that “[a] written
provision in . . . a contract . . . to settle by arbitration a
controversy thereafter arising out of such contract . . . shall
be valid, irrevocable, and enforceable, save upon such grounds
as exist at law or in equity for the revocation of any
contract.” 9 U.S.C. § 2. “Upon petition of a party to an
arbitration agreement, a district court may compel arbitration
to enforce the parties’ agreement to arbitrate their disputes.”

Muriithi v. Shuttle Exp., Inc., 712 F.3d 173, 178 (4th Cir.

2013).
Although the Supreme Court of the United States has
endorsed a “liberal federal policy favoring arbitration,” AT&T

Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011), more

recently, the Supreme Court has explained that “the federal
policy is about treating arbitration contracts like all others,

not about fostering arbitration.” Morgan v. Sundance, Inc., 569

U.S. 411, 412 (2022). In other words, “the policy is to make
‘arbitration agreements as enforceable as other contracts, but

not more so.’” Id. at 418 (quoting Prima Paint Corp. v. Flood &

Conklin Mfg. Co., 388 U.S. 395, 404 n.12 (1967)).

15
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 16 of 25 PagelD# 3343

As is so with other contracts, a “party cannot be required
to submit to arbitration any dispute which he has not agreed to

so submit.” Levin v. Alms & Assocs., Inc., 634 F.3d 260, 266

(4th Cir. 2011). In the first place, “[w]lhether an agreement to
arbitrate was formed is . . . a question of ordinary state

contract law principles.” Rowland v. Sandy Morris Fin. & Estate

Planning Servs., LLC, 993 F.3d 253, 258 (4th Cir. 2021) (citing

Chorley Enters., Inc. v. Dickey’s Barbecue Rests., Inc., 807

F.3d 552, 563 (4th Cir. 2015)). And, when parties disagree about
whether an arbitration agreement has been formed, “the dispute
is generally for courts to decide,” not arbitrators. Granite

Rock Co. v. Int’l Brotherhood of Teamsters, 561 U.S. 287, 296

(2010).

In applying relevant state law to decide whether the
agreement was formed, “the district court must employ the
summary judgment standard as a gatekeeper, so [an arbitration is
not compelled] only if there are ‘genuine issues of material
fact'” as to whether the parties contracted to arbitrate.
Rowland, 993 F.3d at 258 (quoting Chorley, 807 F.3d at 564
(“This standard is akin to the burden on summary judgment.”)).

In meeting that summary judgment standard, the movant bears
the burden of proof. Fed R. Civ. Pro. 56(a). So, “the burden is
on the defendant to ‘establish[] the existence of a binding

contract to arbitrate the dispute.’” Rowland, 993 F.3d at 258

16
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 17 of 25 PagelD# 3344

(quoting Minnieland Private Day  Sch., Inc. Vv. Applied

Underwriters Captive Risk Assurance Co., Inc., 867 F.3d 449, 456

(4th Cir. 2017)); see also Lovelady v. Five Star Quality Care-

VA, LLC, No. 4:18-cv-18, 2018 WL 3580768, at *7 (E.D. Va. July
25, 2018) (“The party seeking to compel arbitration bears the
burden of establishing the existence of an arbitration provision
that purports to cover the dispute.”).

Here, the parties disagree on whether the formation of the
arbitration agreement (i.e., whether Austin agreed to the Terms
of Use) is governed by Virginia or North Carolina contract law.‘
“Questions concerning the validity, effect, and interpretation
of a contract are resolved according to the law of the state

where the contract was made.” Seabulk Offshore, Ltd. v. Am. Home

Assurance Co., 377 F.3d 408, 419 (4th Cir. 2004) (citing Woodson

v. Celina Mut. Ins. Co., 211 Va. 423, 426 (1970)). Under
Virginia law, “whether there existed between the parties an
enforceable agreement to arbitrate . . . depends on whether the

[agreement] contained the essential elements of a valid contract

at common law.” Phillips v. Mazyck, 273 Va. 630, 635 (2007). And

“[ilt is elementary that mutuality of assent--the meeting of the

4 Experian cites Virginia law on this point without actually
addressing which law applies. ECF No. 146 at 8. In response,
Austin asserts that, in 2020, at the time when Experian alleges
the contract was formed, he lived in North Carolina, and that
therefore North Carolina law should apply. ECF No. 148 at 8 n.4.
Experian did not respond to this point in its reply. See ECF No.
149.

17
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 18 of 25 PagelD# 3345

minds of the parties--is an essential element of all contracts.”

Id. at 636 (quoting Lacey v. Cardwell, 216 Va. 212, 223 (1975)).

In North Carolina, “a valid contract requires (1) assent; (2)

mutuality of obligation; and (3) definite terms.” Register v.

Wrightsville Health Holdings, LLC, 843 S.E.2d 464, 470 (N.C.

App. 2020) (quoting Charlotte Motor Speedway, LLC v. Cnty. of

Cabarrus, 748 S.E.2d 171, 176 (N.C. App. 2013). “Arbitration
will not be compelled in the absence of such a showing.” Id.

(citing Routh v. Snap-On Tools Corp., 423 S.E.2d 791, 794 (N.C.

App. 1992)). Under either state’s standard, therefore, mutual
assent is required to enforce an arbitration agreement. So, it
is not necessary to decide which state’s law applies, because in
either scenario, Experian fails to prove this element.
II. Analysis

a. Experian Has Provided No Foundation For Its Motion

The bottom line here is that Experian has not met its
burden. When Experian first filed the MOTION TO COMPEL, it
relied entirely on the Williams Affidavit to show the existence
of mutual assent to arbitrate. That evidence was excluded.
Experian was given the opportunity to file a replacement
memorandum in support of the MOTION TO COMPEL with additional
evidence. But Experian declined to do so, indicating its intent
to appeal the Court’s denial of the MOTION TO COMPEL on the

basis of excluding the Williams Affidavit. And, Austin has

18
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 19 of 25 PagelD# 3346

provided an affidavit that, if believed, shows an absence of
mutual assent to an agreement to arbitrate. Therefore,
Experian’s MOTION TO COMPEL must be denied because it lacks
sufficient evidence to provide that Austin agreed to the
arbitration agreement on which Experian relies.

Experian’s position is quite strange on the simple issue to
be resolved. Austin says, under oath, that he did not agree to
arbitrate. To prove otherwise, Experian relies on an explanation
purporting to show how it was that a person (such as Austin)
trying to acquire the free credit report (promised on the
website of Experian’s related company) can use a website and, in
so doing, can unknowingly agree to forego his right to proceed
in court against Experian by agreeing to arbitrate with a third-
party that was not even identified as Experian.

Experian chose to undertake that burden by relying on the
Williams Affidavit. Having done so, Experian knew that the

Williams Affidavit had to be based on personal knowledge. Fed.

R. Civ. P. 56(a); 56(c) (4). But that requirement was not met.
Nothing in Williams’ job description disclosed personal
knowledge of how the system at issue works. And, although

Williams claimed to have personal knowledge based on a review of
documents, those documents were not identified so that the Court
could test the merits of the asserted personal knowledge claimed

to be based on them.

19
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 20 of 25 PagelD# 3347

And, although Williams swore that, “[i]f called upon to do
so, I could and would competently testify to the facts stated
below [his proffered explanation],” he explicitly declined the
Court’s request that he come to testify on those assertions and
explain how it was that Austin set out to obtain a free credit
report and ended up waiving his rights to go to court and
instead to arbitrate. The waiver on which Experian relies is a
critically important waiver. So, it is important that the
exercise of judicial power to require arbitration (to enforce
that waiver) be based on firm proof that Austin actually made
the agreement to arbitrate.

Where, as here, that agreement appears buried in a long
document, laden with legal jargon, that is accessed through a
system that does not clearly explain what is actually happening,
the Court has a duty to be sure that Austin was clearly informed
of that to which he is claimed to have agreed and to be sure
that his agreement was not procured by deceit. Where, as here,
the undisputed record is that Austin thought he was applying for
a free credit report but, instead, was actually put ina
position of supposedly agreeing to arbitration, the process that
produced that result must be examined carefully. To do that,
the Court needs a complete and understandable explanation of the
system that produced that result by someone with the requisite

personal knowledge. Experian’s obdurate refusal to produce that

20
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 21 of 25 PagelD# 3348

evidence and, instead, to rely on the Williams Affidavit, simply
does not permit the Court to find the mutual assent that is the
legal prerequisite to an agreement to arbitrate.

Where, as here, Experian did not meet that burden initially
and, indeed, turned down two invitations to do so after being
told that it had failed on the first go round, the record
teaches that Experian has not met its burden.5 So, the MOTION TO

COMPEL will be denied for that reason.

b. Experian Fails Even If the Williams Affidavit Was Not
Excluded

Ordinarily, it is preferable to articulate a single basis
for decision and, conversely, to refrain from making alternative

holdings. Karsten v. Kaiser Found. Health Plan of the Middle

Atl. States, Inc., 36 F.3d 8, 11 (4th Cir. 1994). However,

because of the certainty of an appeal and the interest of
judicial efficiency, it is preferable to resolve the substantive
issue presented by the MOTION TO COMPEL. And, to that, the
analysis now turns.

This analysis must assume that the Williams Affidavit has

not been excluded. And, it then is necessary to turn to the

5 Experian has a history of difficulty in complying with the FCRA
(ECF No. 148, p. 5 and authorities cited there), it is passing
strange that Experian would forego two opportunities to
demonstrate that its system is transparent, rather than, as
Austin claims, very deceptive.

21
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 22 of 25 PagelD# 3349

substance of the Williams Affidavit to determine whether
Experian has met its burden. It has not.

The Williams Affidavit establishes that the process that it
used lured consumers to a sister company’s website for the
purpose of allegedly receiving a free credit report. And it was
that process that produced the arbitration agreement of which
Experian claims to be a beneficiary. This is quite like the

situation presented on the record in Sgouros v. TransUnion

Corp., 817 F.3d 1029 (7th Cir. 2016). There, the Seventh
Circuit held that a click wrap agreement, including its
arbitration agreement, could not be enforced. A principle
reason for that decision, as is the case here for Experian, was
that Trans Union advertised the promise of a free credit report
to lure consumers into binding arbitration terms. In its
analysis, the district court had held that it was not reasonable
to believe that an average user would understand that by
clicking, the consumer was agreeing to a service agreement which
was both obscured and mislabeled. Id. at 1036. The same is
true here.

In support of its conclusion on that point, the Seventh
Circuit observed that the consumer could not be found to have
mutually assented to the Trans Union contract. There, the
arbitration terms were within a horizontal window under the

title “Service Agreement.” Id. at 1032. And, to request his

22
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 23 of 25 PagelD# 3350

free report, “Sgouros proceeded to step 3 by clicking on the ‘I
accept and continue to step 3.’" Id. at 1033. However, that
button did not require him to first click on the scroll box or
to scroll down to view the complete contents. Nor did it in any
other way call his attention to an arbitration agreement. The
arbitration agreement was actually “buried at page 8 of the full
10-page printable version of the Service Agreement.” Id. The
facts here are essentially the same as to the process relied on
by Experian.

Further, the Seventh Circuit held that Trans Union’s
language following the link to the terms actually distracted the
consumer by listing what appeared to be a summary of the terms
or agreement about the website. Id. at 1036. The text, according
to the Seventh Circuit, “said nothing about contractual terms.”
Id. at 1035. No reasonable person would think that hidden within
that disclosure was also the message that the same click
constituted acceptance of the service agreement. Id.

Here, respecting the “create your account” button which the
Williams Affidavit says is dispositive, Experian, as did Trans
Union, follows this limited mention of the terms of use
hyperlink with actual “terms” that any reasonable reader would
assume summarized the referenced agreement. ECF No. 39-1. And,

immediately before the click button, there is a statement that

23
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 24 of 25 PagelD# 3351

the signer “authorizes consumerinfo.com . . . to obtain my
credit report .. . to provide my credit report to me.” Id.

That is very much like the text that the Seventh Circuit
found confusing in Sgouros, and as the Seventh Circuit
explained, “that text distracted the purchaser from the service
agreement by informing him that clicking served a particular
purpose unrelated to the agreement.” Sgouros, 817 F.3d at 1036.
The “create your account” button which is so-keyed to Williams’

explanation does not state that it created an agreement to the

terms and conditions of the contract. So, as in Sgouros, the
disclosures that were made were deceptive. And that deception

precludes a finding that there was a mutual assent to an
arbitration agreement.

So, even if the MOTION TO COMPEL is considered on the basis
of the Williams Affidavit, the record here discloses that, as in
Sgouros, Experian’s showing does not establish a meeting of the
minds and the mutual assent required for there to be an

agreement to arbitration.

6 The analysis might have been different if Experian had offered
the testimony of someone with actual personal knowledge of the
process that Austin was put through. Or, perhaps, if Williams
could have shown personal knowledge, the analysis might be
different. But, Experian made its choices on both scores and it
must live with the consequences.

24
Case 3:22-cv-00707-REP Document 152 Filed 12/14/23 Page 25 of 25 PagelD# 3352

CONCLUSION
For the foregoing reasons, DEFENDANT EXPERIAN INFORMATION
SERVICES, INC.’S MOTION TO COMPEL ARBITRATION (ECF No. 38) will
be denied.

It is so ORDERED.

/s/ REV’
Robert E. Payne

Senior United States District Judge

Richmond, Virginia
Date: December {3 , 2023

25
